       Case 4:14-cr-00143-BSM           Document 179         Filed 09/21/16       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:14CR00143-01 JLH

MANUEL DANIELS VARGAS                                                                  DEFENDANT

                                              ORDER

       The United States has filed a notice of intent to present evidence pursuant to Rule 404(b).

The notice says that the United States intends to present evidence of four convictions of possession

of a controlled substance with intent to deliver in 2002, a conviction for maintaining a drug premises

in 2002, and a conviction for possession of a controlled substance with intent to deliver in 2011.

       Federal Rule of Evidence 404(b) provides that evidence of a crime is not admissible to prove

a person’s character in order to show that on a particular occasion the person acted in accordance

with that character, but the evidence may be admissible for another purpose such as proving motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident.

To be admissible, the prior crime must be (1) relevant to a material issue, (2) similar in kind and not

overly remote in time, and (3) supported by sufficient evidence. United States v. Banks, 706 F.3d

901, 906 (8th Cir. 2013). Moreover, the potential prejudice to the defendant of admitting evidence

of a prior crime must not substantially outweigh its probative value. Id. at 906-07.

       As the trial court did in Banks, the Court will sustain Vargas’s objection to the admission of

evidence of these prior convictions because the danger of unfair prejudice and the fact that the prior

convictions are remote in time. After hearing all of the evidence, the Court will entertain a motion

to reconsider. That does not mean, however, that the Court anticipates admitting evidence of the
       Case 4:14-cr-00143-BSM            Document 179       Filed 09/21/16      Page 2 of 2




prior crimes at the close of the government’s change-in-chief – only that the Court will consider the

issue in light of all of the evidence.

        IT IS SO ORDERED this 21st day of September, 2016.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
